Case 2:18-cv-10501-DML-RSW ECF No. 32-2 filed 11/15/18   PageID.191   Page 1 of 25




                     EXHIBIT 2
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN


  AARON SMITH, individually and on behalf
  of all similarly situated individuals,

         Plaintiff,
                                                    Case No. 2:18-cv-10501-DML-RSW
                 v.
                                                    Hon. David M. Lawson
  SILVERSTAR DELIVERY, LTD.,                        Magistrate Judge R. Steven Whalen
  AMAZON.COM, LLC, and
  AMAZON.COM SERVICES, INC.,

         Defendants.



      DECLARATION OF LAURA E. REASONS IN SUPPORT OF MOTION FOR
      APPROVAL OF COLLECTIVE ACTION SETTLEMENT AND PLAINTIFF’S
                     ATTORNEYS’ FEES AND COSTS
        I, Laura E. Reasons, declare as follows:

        1.      I am Senior Counsel in the law firm of DiCello Levitt & Casey LLC (“DLC”) and

 counsel for Plaintiff Aaron Smith in the above-captioned matter. I have been in my role at DLC

 since in or around January 2018.

        2.      I make this Declaration based on my own personal knowledge and if called upon

 as a witness to testify in this matter, I could and would testify competently thereto.

        3.      Plaintiff’s Counsel are highly qualified and experienced, and each have

 substantial credentials in federal courts and class and collective action litigation. Attached hereto

 as Exhibit A is a true and correct copy of the firm resume for DLC.

        4.      I have been litigating wage and hour collective actions for approximately 10

 years. Before I came to DLC, I worked on the defense side, where I represented employers in

 this type of case for most of my career.
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        5.      I am familiar with the work that I and other DLC attorneys and staff have

 performed on this matter. I am also familiar with DLC’s case management software and the

 reports that can be generated from the software. In connection with preparing Plaintiff’s Motion

 for Approval of Collective Action Settlement and Plaintiff’s Attorneys’ Fees and Costs, I

 reviewed reports generated from DLC’s case management software detailing both the fees and

 costs incurred by Plaintiff during the course of the litigation. I also reviewed an invoice

 provided by co-counsel Seymour Berger of the law offices of Seymour Berger, reflecting time

 spent by attorney Berger on this case.

        6.      The following is a true and correct breakdown of attorneys and paralegals who

 worked on this case, the amount of time recorded by each individual, and each individual’s

 hourly rate:


  Timekeeper               Rate                     Time                 Amt. Due

  Adam J. Levitt           $975                     0.7 hours            $647.50

  Kenneth P. Abbarno       $750                     2.17 hours           $1,624.99

  Amy E. Keller            $700                     5.0 hours            $3,500.00

  Laura E. Reasons         $650                     170.15 hours         $110,597.50

  Mark M. Abramowitz $525                           5.5 hours            $2,887.50

  Justin Abbarno           $325                     5.3 hours            $1,722.50

  Casey Edwards            $325                     55.83 hours          $18,145.83

  Seymour Berger           $300                     2.0 hours            $600

  Audrey Lebdjiri          $300                     5.3 hours            $1,590.00

  Sharon Banks             $275                     .067 hours           $18.33
Case 2:18-cv-10501-DML-RSW ECF No. 32-2 filed 11/15/18                     PageID.194       Page 4 of 25



  Caitlin Seese               $250                    1.85 hours            $462.50

  Total:                                              253.60_ Hours         $141,796.65


        7.        The following is a true and correct breakdown, by category, of the expenses

 incurred by DLC on Plaintiff’s behalf in bringing this case:



  Expense                   Amount Due

  Filing/Court Fees         $1,357

  Travel                    $918.21

  Legal Research            $7,946.60

  Total:                    $10,222.00

        8.        As necessary, DLC could provide for inspection, the receipts and invoices relating

 to these expenses.

        9.        I am familiar with or have access to information regarding the billing rates of the

 various DLC attorneys who worked on this case and, generally. The named partners of DLC do

 not charge over $1,000 per hour. For example, Adam Levitt, a founder and named partner of

 DLC, currently charges $975.00 per hour.

        10.       At the time of the facilitation in this case, Plaintiff’s Counsel had already incurred

 well over $50,000 of fees and costs. However, counsel determined that it was appropriate to

 compromise their fee in the interest of reaching a settlement that was in the best interest of

 Plaintiff and the other putative collective action members.

        11.       I entered into a retainer agreement with Plaintiff Aaron Smith on behalf of DLC

 for DLC to represent him in this matter. DLC accepted this case and has represented Plaintiff on

 a purely contingent basis.
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       I declare under penalty of perjury that the foregoing is true and correct.

  Dated: November 15, 2018                         s/ Laura E. Reasons
                                                   Laura E. Reasons (pro hac vice)
                                                   DICELLO LEVITT & CASEY
                                                   Ten North Dearborn Street,
                                                   Eleventh Floor
                                                   Chicago, Illinois 60602
                                                   Telephone: (312) 214-7900
                                                   Fax: (312) 253-1443
                                                   lreasons@dlcfirm.com
                                                   Attorney for Plaintiff
Case 2:18-cv-10501-DML-RSW ECF No. 32-2 filed 11/15/18   PageID.196   Page 6 of 25




                    EXHIBIT A
Case 2:18-cv-10501-DML-RSW ECF No. 32-2 filed 11/15/18          PageID.197    Page 7 of 25




              Chicago                     Cleveland                    New York
     Ten North Dearborn Street   Western Reserve Law Building     444 Madison Avenue
           Eleventh Floor            7556 Mentor Avenue               Fourth Floor
       Chicago, Illinois 60602       Mentor, Ohio 44060         New York, New York 10022
           312.214.7900                 440.953.8888                 646.933.1000
Case 2:18-cv-10501-DML-RSW ECF No. 32-2 filed 11/15/18                                  PageID.198          Page 8 of 25



                   DiCello Levitt & Casey LLC’s Experience and Representative Cases

             Representing institutional investors, public clients, businesses, and individuals, DiCello Levitt & Casey’s
(“DLC”) attorneys have successfully prosecuted and settled numerous complex cases and class actions, resulting in
billions of dollars in recoveries for their clients and other class members. Founders Mark DiCello, Adam Levitt, and
James Casey lead a top-notch team of recognized leaders who share a collective depth of experience and steadfast
commitment to justice. Their tireless advocacy on behalf of their clients is well-known, most recently leading Mike
Bowers, Georgia’s former Attorney General, to characterize a settlement obtained by Adam Levitt and Amy Keller a
“work of art,” and “one of the best pieces of legal work I have ever observed.” Champs Sports Bar & Grill v. Mercury
Payment Systems, LLC, No. 16-cv-00012 (N.D. Ga.).
           Based in Chicago and Cleveland with a nationwide practice, the firm’s attorneys have successfully led—and
are presently leading—many large class and multidistrict actions, including against industry titans such as Apple, Intel,
General Motors, and Equifax, involving complex legal issues and sophisticated liability theories.


  REPRESENTATIVE MULTI-DISTRICT AND CLASS ACTION CASES

  In re Intel Corp. CPU Marketing, Sales Practices     Nationwide class action related to          Plaintiffs’ Steering
  and Products Liability Litigation, No. 18-md-        security flaws in Intel-manufactured        Committee
  02828 (D. Or.)                                       CPUs.

  In re Apple Inc. Device Performance Litigation,      International class action concerning       Plaintiffs’ Executive
  No. 18-md-02827 (N.D. Cal.)                          device performance throttling.              Committee

  In re Polaris Marketing, Sales Practices, and        Nationwide class action against off-road    Co-Lead Counsel
  Products Liability Litigation, No. 18-0939 (D.       vehicle manufacturer related to design
  Minn.)                                               defects impacting driver safety.

  In re Equifax, Inc. Customer Data Security           Data breach affecting 145.5 million         Co-Lead Counsel
  Breach Litigation, No. 17-MD-02800 (N.D. Ga.)        people.

  State of New Mexico, ex rel. Hector H. Balderas      Consumer protection lawsuit brought by      Counsel by Special
  v. Takata Corporation, No. D-101-CV-2017-            state attorney general involving            Commission
  00176 (Santa Fe 1st Jud. Dist., N.M.)                defective and dangerous airbags.

  Champs Sports Bar & Grill v. Mercury Payment         Card processing fee class action            Co-Lead Counsel
  Systems, LLC, No. 16-cv-00012 (N.D. Ga.)             resulting in nationwide settlement of
                                                       $52 million.

  Sloan v. General Motors LLC, No. 16-cv-07244-        Excessive oil consumption defect class      Co-Lead Counsel
  EMC (N.D. Cal.)                                      action.

  State of New Mexico, ex rel. Hector H. Balderas      Consumer protection lawsuit related to      Counsel by Special
  v. Volkswagen Group of America, No. D-101-CV-        corporation’s use of defeat device to       Commission
  2017-00176 (Santa Fe 1st Jud. Dist., N.M.)           circumvent state consumer and
                                                       environmental laws.

  In re Volkswagen “Clean Diesel” Marketing,           Vehicle emissions/defeat device class       Plaintiffs’ Steering
  Sales Practices and Products Liability Litigation,   action litigation resulting in over $16     Committee
  No. 15-md-2672 CRB (JSC) (N.D. Cal.)                 billion in total settlements for
                                                       consumers.




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  In re General Motors LLC Ignition Switch             Ignition switch defect class action.          Executive Committee
  Litigation, No. 14-md-2542 (S.D.N.Y.)

  In re Navistar MaxxForce Litigation, No. 14-cv-      Nationwide truck emissions control            Co-Lead Counsel
  5249 (N.D. Ill.)                                     system defect class action.

  In re Adobe Systems, Inc. Privacy Litigation,        Data breach affecting 38 million              Executive Committee
  No. 13-cv-05226 (N.D. Cal.)                          customer accounts.

  Roberts v. Electrolux Home Products, Inc., No.       Defective dryer class action resulting in     Co-Lead Counsel
  12-cv-1644 CAS (C.D. Cal.)                           $35.5 million nationwide settlement.

  In re Imprelis Herbicide Marketing, Sales            Tree and shrub damage from defective          Co-Lead Counsel
  Practices and Products Liability Litigation, MDL     herbicide class action resulting in $550
  No. 2284 (E.D. Pa.)                                  million settlement.

  In re Sony Gaming Networks and Customer Data         Data breach case affecting 77 million         Co-Lead Counsel
  Security Breach Litigation, No. 11-md-02258          accounts.
  (S.D. Cal.)

  In re Michaels Stores Pin Pad Litigation, No. 11-    Data breach lawsuit concerning                Co-Lead Counsel
  C-3350 (N.D. Ill.)                                   compromised payment information.

  In re StarLink Corn Products Liability Litigation,   Biotechnology class action concerning         Co-Lead Counsel
  MDL No. 1403 (N.D. Ill.)                             contamination of U.S. corn supply with
                                                       unapproved genetically modified trait
                                                       resulting in $110 million settlement.

  In re Genetically Modified Rice Litigation, MDL      Biotechnology mass tort concerning            Co-Lead Counsel
  No. 1811 (E.D. Mo.)                                  contamination of U.S. rice supply
                                                       resulting in aggregate settlements
                                                       exceeding $1.1 billion.

  In re Porsche Cars Plastic Coolant Tubes             Nationwide class action involving             Co-Lead Counsel
  Litigation, MDL No. 2233 (S.D. Ohio)                 defective engine coolant tubes resulting
                                                       in $45 million settlement.

  In re: Reebok Easytone Litigation, No. 10-CV-        False advertising class action resulting in   Class Counsel
  11977 (D. Mass.)                                     $25 million, non-reversionary
                                                       settlement fund.

  In re Pharmatrak, Inc. Privacy Litigation,           Internet privacy lawsuit related to           Co-Lead Counsel
  No. 00-11672 (D. Mass.)                              collection of personal information
                                                       without consent.

  In re DoubleClick, Inc. Privacy Litigation,          Internet privacy class action.                Class Counsel
  No. 00-civ0641 (S.D.N.Y.)

  Supnick v. Amazon.com, Inc.,                         Internet privacy lawsuit related to           Co-Lead Counsel
  No. C00-0221P (W.D. Wash.)                           installation of tracking software.




 www.DLCfirm.com                                                                                                       3
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                      DiCello Levitt & Casey LLC’s Experienced Roster of Attorneys

           Acknowledged as Super Lawyers and Leading Lawyers by Law Dragon, and AV-Rated by Martindale-
  Hubbell, the attorneys of DLC are recognized as best in their field by prominent legal publications. In addition, DLC’s
  attorneys have been included in the Law Bulletin’s 40 Under 40 award, National Trial Lawyers 40 Under 40 list, and
  the Best Lawyers in America publication.

             Beyond recognition from legal publications, DLC’s attorneys have contributed to the legal community
  through scholarship and speaking engagements, including as a panelist for the Women’s Bar Association of Illinois,
  testifying before the Illinois Supreme Court Rules Committee on class action practice, and chairing an annual class
  action litigation conference in Chicago.




  www.DLCfirm.com                                                                                                       4
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                                       Adam operates one of the nation’s leading commercial litigation
                                       practices, having achieved billions in recoveries for his clients.

                                       A founding partner of DiCello Levitt & Casey, Adam Levitt is one of the nation’s
                                       leading advocates for plaintiffs in class action, public client, mass tort, and
                                       commercial litigation. He has extensive experience leading multidistrict and
                                       other nationwide class action lawsuits, with a substantial focus on deceptive
                                       trade practices and new approaches to complex legal issues.

   Adam J. Levitt                      A leader in the field of developing novel approaches to damages methodologies
   Partner                             in agriculture and environmental litigation, Mr. Levitt has recovered billions of
                                       dollars for clients and class members. As co-lead counsel in three of the largest
   EMAIL:                              biotechnology class actions in history, he recovered more than $1.7 billion for
   alevitt@dlcfirm.com                 class members: In re Genetically Modified Rice Litig. (E.D. Mo.) (securing
                                       settlements exceeding $1.1 billion); In re Imprelis Herbicide, Sales Practice and
   EDUCATION                           Products Liability Litig. (E.D. Pa.) ($550 million settlement); and In re StarLink Corn
   Northwestern University Law         Products Liability Litig. (N.D. Ill.) ($110 million settlement). In those cases, Mr.
   School, J.D.                        Levitt devised the market loss damages model used in every similar case since
                                       StarLink. His legal writing related to these novel theories and damages modeling
   Columbia College, Columbia
                                       earned Mr. Levitt the Burton Award for Finest Law Firm Writer (2017) and the
   University, A.B., magna cum laude
                                       American Agricultural Law Association’s Professional Scholarship Award (2017).

                                       A trusted partner in public client litigation, Mr. Levitt has represented the New
                                       Mexico Office of the Attorney General in two recent cases, including against
                                       Volkswagen for the use of “defeat devices” in its automobiles to circumvent state
                                       consumer protection and environmental laws, and against over a dozen vehicle
                                       manufacturers related to the installation and use of dangerous and defective
                                       airbags. State of New Mexico, ex rel. Hector H. Balderas v. Volkswagen Group of
                                       America, Inc., et al. (Santa Fe 1st Jud. Dist., N.M.) and State of New Mexico, ex rel.
                                       Hector H. Balderas v. Takata Corporation, et al. (Santa Fe 1st Jud. Dist., N.M.).

                                       Understanding the importance of environmental policy, and the interplay
                                       between state consumer laws and standards set by governmental agencies, Mr.
                                       Levitt plays a key role as co-lead counsel in a class action lawsuit involving a
                                       company’s failure to comply with emissions standards, and adopting failed
                                       technology that ultimately hurt consumers. In re Navistar Maxxforce Engines,
                                       Sales Practices and Products Liability Litig. (N.D. Ill.). Mr. Levitt’s appointment in
                                       that case came on the heels of recovering over $16 billion in total settlements for
                                       consumers in In re Volkswagen “Clean Diesel” Marketing, Sales Practices and
                                       Products Liability Litig. (N.D. Cal.) as a member of the Plaintiffs’ Steering
                                       Committee. Mr. Levitt has also served in leadership positions in a number of
                                       other cases, including In re Polaris Mktg., Sales Practices, and Prods. Liab. Litig.
                                       (D. Minn.) (Co-Lead Counsel); In re: Intel Corp. CPU Marketing, Sales Practices and
                                       Products Liability Litigation (D. Or.) (Steering Committee); and In re General
                                       Motors LLC Ignition Switch Litig. (S.D.N.Y.) (Executive Committee).

                                       Nationally recognized as an authority on class action litigation, Mr. Levitt is the
                                       President of Class Action Trial Lawyers, an elected member of the American Law
                                       Institute and the Economic Club of Chicago and serves on advisory boards for the
                                       Duke Law Center for Judicial Studies, the American Constitution Society, and the
                                       Institute for Consumer Antitrust Studies.




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   Adam J. Levitt,       PRACTICE AREAS
   continued             •   Antitrust Litigation
                         •   Appellate Litigation
                         •   Commercial Litigation
                         •   Class Action Litigation
                         •   Product Liability Litigation
                         •   Public Client Litigation
                         •   Securities Litigation
                         HONORS
                         •   Burton Award, Finest Law Firm Writer (2017)
                         •   “AV” rating, Martindale-Hubbell
                         •   Super Lawyer: Class Actions & Mass Torts, Illinois (2012-present)
                         •   500 Leading Lawyers in the U.S., Lawdragon (2011)
                         •   Litigator of the Week, American Lawyer (2011)
                         SELECTED WRITINGS AND PRESENTATIONS
                         Law review articles
                         •   The Gift That Keeps on Giving: Price Overhang Damages in Commodity Crop
                             Cases, 51 VAL. U. L. REV. 375 (2017) (co-authored with Russell L. Lamb)
                         •   Agricultural “Market Touching”: Modernizing Trespass to Chattels in Crop
                             Contamination Cases, 38 U. HAW. L. REV. 409 (2016) (co-authored with
                             Nicole Negowetti)
                         •   CAFA and Federalized Ambiguity: The Case for Discretion in the
                             Unpredictable Class Action, 120 YALE L.J. ONLINE 231 (2011)
                         Other recent writings
                         •   March of the Machines – Robotic Vehicles and the Changing Landscape of
                             Motor Vehicle Liability, TRIAL, Vol. 53, No. 2 (2017)
                         •   The Volkswagen Emissions Scandal: What’s Next?, TRIAL, Vol. 52, No. 2
                             (2016)
                         •   Volkswagen Scandal is Perfect Fit for a Damages Class Action, Portfolio
                             Media (Law360) (September 2015)
                         Recent notable presentations
                         •  Analysis and Application of the Ninth Circuit’s Briseño v. ConAgra Opinion,
                            Rapid Response: Analysis of the Ninth Circuit Rejection of Ascertainability
                            Webinar (2017)
                         • Criteria for Approving Class Action Settlements, The Duke Law Center for
                            Judicial Studies – Class Action Settlement Conference (2016)
                         • Proving Class-Wide Damages After Comcast in Consumer Products Class
                            Actions, AAJ Summer Conference (2016)
                         ADMISSIONS
                         •   United States Supreme Court
                         •   United States Courts of Appeals for the First, Second, Third, Seventh,
                             Eighth, Ninth, Eleventh, and Federal Circuits
                         •   United States District Courts for the District of Colorado; Northern, Central,
                             and Southern Districts of Illinois; Northern District of Indiana; Eastern
                             District of Michigan; District of Nebraska; Eastern and Northern Districts of
                             Texas; and the Western District of Wisconsin
                         •   Illinois, New York



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                                         Greg Gutzler is a well-known and well-respected litigator, having
                                         represented both large, corporate clients and consumers in some
                                         of the largest cases in the country.

                                         Mr. Gutzler is an experienced trial lawyer with a proven record of results handling
                                         all aspects of complex commercial litigation, including securities litigation,
                                         antitrust claims, Lanham Act litigation, patent license disputes, and patent
                                         infringement trials, as well as breach of contract and unfair competition
                                         litigation. He represents Fortune 100 companies, individuals, and governmental
                                         entities in complex lawsuits across the country.
   Greg Gutzler
                                         Mr. Gutzler is currently litigating over a dozen high-profile securities actions
   Of Counsel                            against international investment banks for misrepresentations made to investors
                                         in connection with billions of dollars of residential mortgage-backed
   EDUCATION                             securities. Mr. Gutzler also represents victims of terrorism in innovative actions
   University of Michigan Law
                                         brought under the Anti-Terrorism Act.
   School, J.D.
                                         Before joining the firm, Mr. Gutzler was a partner at one of the nation’s most
   University of California, Berkeley,
                                         prestigious plaintiffs’ firms. Prior to that, Mr. Gutzler was a partner at a large
   B.A.
                                         defense firm, trying a variety of lawsuits while serving in various leadership
                                         roles. Mr. Gutzler was trial counsel for a leading biotechnology company in
                                         antitrust, patent infringement, breach of contract and unfair competition trials. He
                                         also has extensive experience in the energy and pharmaceuticals sectors.

                                         Mr. Gutzler was a member of the trial team that won a $1 billion jury verdict on
                                         behalf of Monsanto in Monsanto Co. v. E.I. duPont de Nemours & Co., the fourth
                                         largest patent infringement jury verdict in U.S. history. The verdict was also
                                         recognized as the number three verdict in The National Law Journal’s Top 100
                                         Verdicts of 2012, and was featured as the cover story in the Spring 2013 Am
                                         Law Litigation supplement. In addition, Mr. Gutzler was a recipient of
                                         the 2013 Missouri Lawyers Award for biggest plaintiffs’ verdict.


                                         PRACTICE AREAS
                                         •   Antitrust Litigation
                                         •   Appellate Litigation
                                         •   Class Action Litigation
                                         HONORS
                                         •   Missouri Lawyers Award for Biggest Plaintiffs’ Verdict (2013)
                                         •   Benchmark Litigation Local Litigation Star (2012)
                                         ADMISSIONS
                                         •   Missouri, Illinois, New York




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                                       John has gained widespread recognition as an extraordinary
                                       attorney with particular success in nationwide consumer and
                                       antitrust class actions.

                                       John Tangren maintains a national practice in antitrust and consumer class action
                                       litigation, with vast experience in the field of automotive defect litigation. Mr.
                                       Tangren—who has spent the last decade advocating for plaintiffs—is presently
                                       leading DLC’s efforts in three nationwide class cases: Sloan v. Gen. Motors LLC
                                       (N.D. Cal.), In re Polaris Mktg., Sales Practices, and Prods. Liab. Litig. (D. Minn.),
                                       and the current Fourth Circuit appeal in Belville v. Ford Motor Co., where he will
                                       argue on behalf of a national team of plaintiffs’ counsel from twenty different
   John E. Tangren                     firms.
   Partner
                                       Mr. Tangren always takes a “deep dive” into both the legal and technical aspects
   EMAIL:                              of each of his cases. For example, he shined a light on Ford Motor Company’s
   jtangren@dlcfirm.com                blatant misrepresentation and abuse of discovery when he led a briefing effort on
                                       a motion to suppress plaintiffs’ ability to accurately review Ford’s source code.
   EDUCATION                           Johnson v. Ford Motor Co. (S.D. W. Va.). The district court granted the motion for
   University of Chicago Law School,   relief related to Ford’s discovery misconduct, and Ford was consequently ordered
   J.D.                                to pay nearly half a million dollars to recompense Plaintiffs’ costs and fees relating
                                       to the discovery misconduct.
   University of Chicago, B.A.
                                       Mr. Tangren has also successfully represented consumer plaintiffs on the
                                       appellate level. He played a significant role in the briefing for two impactful
                                       Seventh Circuit decisions in the class action field: Messner v. Northshore
                                       University HealthSystem, 669 F.3d 802 (7th Cir. 2012), which reversed the district
                                       court’s denial of class certification and has been cited in over 400 cases since then
                                       for its guidance regarding class certification; and In re Text Messaging Antitrust
                                       Litigation, 630 F.3d 622 (7th Cir. 2010), which was decided on the briefs in an
                                       opinion written by Judge Posner. In both cases, Mr. Tangren crafted successful
                                       narratives regarding highly technical facts (in the health care and cellular services
                                       contexts) and applied them to complex areas of law (the sufficiency of complaint
                                       allegations and class certification showings in antitrust cases) in such a way as to
                                       demonstrate to the appeals court why the consumer plaintiffs should carry the
                                       day.

                                       Among other recognition, he has been named a class action Super Lawyer in Illinois
                                       for his effective representation of consumer classes in automotive and other
                                       cases, was named by the National Trial Lawyers as a “Top 40 Under 40” attorney
                                       in 2012, and an Emerging Lawyer by the Law Bulletin Publishing Company. Mr.
                                       Tangren is frequently asked to speak on topics relating to class action litigation. He
                                       has presented “CAFA: 12 Years Later” at the Chicago Bar Association Class Action
                                       Committee Meeting (2017) and a 2018 Strafford CLE Webinar titled “Class Action
                                       Litigation: Avoiding Legal Ethics Violations and Malpractice Liability,” as well as
                                       presented on electronic discovery and topics relating to car defect cases.




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   John E. Tangren,      PRACTICE AREAS
   continued             • Antitrust Litigation
                         • Appellate Litigation
                         • Class Action Litigation
                         • Product Liability Litigation
                         HONORS
                         •   Super Lawyer: Class Actions & Mass Torts, Illinois (2017-2018)
                         •   Super Lawyer: Rising Star, Illinois (2011, 2013-2016)
                         •   Emerging Lawyer, Law Bulletin Publishing Company (2015-2018)
                         •   National Trial Lawyers, Top 40 Under 40 (2012)
                         SELECTED WRITINGS AND PRESENTATIONS
                         •   Class Action Litigation: Avoiding Legal Ethics Violations and Malpractice
                             Liability, Strafford CLE Webinar (2018)
                         •   CAFA: 12 Years Later, Chicago Bar Association Class Action Committee
                             (2017)
                         •   The Use of Absent Class Member Discovery on Issues of Class Certification,
                             National Consumer Class Action Litigation & Management Conference
                             (2013)
                         •   ESI For Beginners, Seventh Circuit Conference of the National Employment
                             Lawyers Association (2013)
                         •   Lessons on Motions to Dismiss from Other Car Defect Cases, HarrisMartin
                             MDL Conference: General Motors Ignition Switch Recall Litigation (2014)
                         ADMISSIONS
                         •   United States Supreme Court
                         •   United States Courts of Appeals for the Fourth, Seventh, Eighth, and Ninth
                             Circuits
                         •   United States District Courts for the District of Colorado; Northern District
                             of Illinois; and Eastern District of Michigan.
                         •   Illinois




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                                    Amy is a SuperLawyers Rising Star, developing a national profile
                                    in consumer protection litigation.

                                    Amy Keller has experience successfully litigating a variety of class action cases in
                                    leadership positions across the United States. Recently, Ms. Keller was appointed
                                    to serve as co-lead counsel in the pending nationwide litigation against Equifax
                                    related to its 2017 data breach. In that case, Ms. Keller represents over 147 million
                                    class members. In re Equifax, Inc. Customer Data Security Breach Litig., No. 17-
                                    MD-02800 (N.D. Ga.). As the recently-appointed Co-Chair of Law and Briefing on
                                    the Plaintiffs’ Executive Committee in In re: Apple Inc. Device Performance
                                    Litigation (N.D. Cal.), Ms. Keller employed her technical savviness in directing an
   Amy Keller
                                    effort to craft a nationwide and international consolidated complaint. Ms. Keller’s
   Partner                          numerous other leadership positions have also required sophistication in not only
                                    understanding complex theories of liability, but also presenting multifaceted
   EMAIL:                           damages methodologies to ensure a favorable result to class members. See, e.g.,
   akeller@dlcfirm.com
                                    Gengler v. Windsor Window Company, et al., No. 16-cv-00180 (E.D. Wis.)
                                    (plaintiffs’ steering committee; case resulted in nationwide settlement); Catalano
   EDUCATION                        v. BMW of North America, LLC, et al., No. 15-cv-04889 (S.D.N.Y.) (interim
   John Marshall Law School, J.D.   settlement counsel for nationwide settlement providing repair and replacement
                                    of certain electrical parts in automobiles); Roberts, et al. v. Electrolux Home Prods.,
   University of Michigan, B.A.     Inc., No. 12-cv-01644 (C.D. Cal.) (co-lead settlement counsel in nationwide
                                    settlement benefitting owners of certain allegedly-defective clothes dryers).

                                    Ms. Keller’s expertise spans a wide variety of practice areas and topics—including
                                    benefit of the bargain analysis and consumer protection. See Grasso, et al. v.
                                    Electrolux Home Prods., Inc., No. 16-cv-00911 (M.D. Fla.). Ms. Keller’s experience
                                    also extends to the development of briefing and strategy at the district and
                                    appellate court level concerning ascertainability of class members in consumer
                                    class actions, complex personal jurisdiction challenges in multi-state cases, the use
                                    of conjoint analysis in determining damages, and the enforceability of arbitration
                                    clauses in consumer contracts. See, e.g., Conagra Brands, Inc. v. Briseno, et al.,
                                    138 S. Ct. 313 (2017); Bell v. PNC Bank, Nat. Ass’n, 800 F.3d 360 (7th Cir. 2015);
                                    and Elward v. Electrolux Home Prods., Inc., No. 15-cv-09882 (N.D. Ill.).

                                    As a two-time chair of the Chicago Bar Association Class Action Committee, Ms.
                                    Keller gave a number of presentations on topics impacting large-scale consumer
                                    class actions, including presentations on emerging legal issues in technology and
                                    privacy matters and in consumer cases. Chicago Bar Association Class Action
                                    Committee Winter Seminar, Class Actions and the Trump Administration (2017);
                                    Women’s Bar Association of Illinois, Panel on Emerging Issues in Privacy and
                                    Technology Law (2017); Perrin Class Action Litigation Conference, Current Trends
                                    in Product Liability Class Action Litigation (2016); Chicago Bar Association, 2015
                                    Annual Spring Seminar on Class Action Litigation (2015).

                                    Ms. Keller has been recognized by Illinois Super Lawyers for the past two years as
                                    a “Rising Star,” and currently serves as a board member of Public Justice, a not-
                                    for-profit legal advocacy organization protecting consumers, employees, civil
                                    rights, and the environment. In 2018, Ms. Keller was named as a National Law
                                    Journal Plaintiff Trailblazer, and a one of the “Top 40 Under 40” trial lawyers in
                                    Illinois by National Trial Lawyers. Ms. Keller is also a writer for the Chicago Bar
                                    Association’s “Bar Show,” where she sings and dances in the show, as well.




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   Amy Keller,           PRACTICE AREAS
   continued             •   Antitrust Litigation
                         •   Appellate Litigation
                         •   Class Action Litigation
                         •   Commercial Litigation
                         •   Food Labeling Litigation
                         •   Employment Litigation
                         HONORS
                         •   Super Lawyer: Rising Star, Illinois (2016-2018)
                         •   National Trial Lawyers, Top 40 Under 40 (2018)
                         •   Plaintiff Trailblazer, National Law Journal (2018)
                         SELECTED WRITINGS AND PRESENTATIONS
                         •   Class Actions and the Trump Administration, Chicago Bar Association Class
                             Action Committee Winter Seminar (2017)
                         •   Emerging Issues in Privacy and Technology Law, Women’s Bar Association
                             of Illinois (2017)
                         •   Current Trends in Product Liability Class Action Litigation, Perrin Class
                             Action Litigation Conference in Chicago, Illinois (2016)
                         •   A Funny Thing Happened on the Way to the Forum: When to Choose Federal
                             Over State Court, American Bar Association Section of Litigation Annual
                             Conference in Chicago, Illinois (2016)
                         •   Chicago Bar Association 2015 Annual Spring Seminar on Class Action
                             Litigation in Chicago, Illinois (2015)
                         •   Circuit Court Update, ABA Section of Labor and Employment Law, 6th
                             Annual Section Conference in Coronado, California (2013)
                         •   Preemptive Collateral Estoppel Blocks Consumer Class Action in Thorogood,
                             CADS Report, Vol. 21, Winter 2011 (Co-authored by associate Dawn M.
                             Goulet)
                         •   The Criminal Law Edit, Alignment and Reform Initiative: A Symposium on
                             the New Criminal Code, 41 J. MARSHALL L. REV. 610-935 (Spring 2008) (as
                             Chair of the Symposium)
                         ADMISSIONS
                         •   United States Courts of Appeals for the Third, Seventh, Eighth, and Ninth
                             Circuits
                         •   United States District Courts for the Northern District of Florida, Southern
                             District of Florida, Northern District of Illinois, Southern District of Illinois,
                             District of Nebraska, Eastern District of Michigan, Western District of
                             Michigan
                         •   Illinois, Michigan




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                                       Mark is an emerging leader in national mass tort and technology
                                       litigation.

                                       Mark M. Abramowitz has established a national profile in class action and mass
                                       tort litigation, having represented plaintiffs in actions involving automotive and
                                       Internet technology issues. He has been selected to serve on national discovery
                                       review teams and participated in national mediations, resolving hundreds of
                                       cases and distributing millions of dollars to clients injured by corporations. See
                                       In re Imprelis Herbicide, Sales Practice and Products Liability Litig. (E.D. Pa.).

   Mark M. Abramowitz                  Outside of his own cases, Mr. Abramowitz actively investigates ways to integrate
   Associate                           technology into the practice of law. Regularly consulted on cloud-based systems,
                                       discovery technology, the Internet of Things, and litigation concerning the
   EDUCATION                           storage and security of data, Mr. Abramowitz is developing a reputation as an
   The University of Toledo College    authority on computing issues. See Electronics in the Courtroom, 29th Annual
   of Law, J.D.                        accredited CLE (2016); How to manage a mass tort inventory, OAJ Annual
                                       Convention (2015); Professional Conduct – efiling, 27th Annual CLE Update
   University of Guelph, B.A.          (2014); Marketing & Electronic Communications, 26th Annual Accredited CLE
                                       (2013).




                                       Daniel litigates consumer class actions, public client cases, and
                                       other complex commercial lawsuits.

                                       Mr. Ferri focuses his practice on national and statewide consumer class action
                                       litigation. Among other recent class action engagements, he has represented
                                       plaintiffs asserting class claims against Volkswagen arising from the carmaker’s
                                       installation of “defeat devices” to evade federal and statewide emissions
                                       standards.

                                       Apart from the class action context, he has successfully represented inventors and
                                       companies in intellectual property disputes throughout the country.
   Daniel R. Ferri
   Associate

   EDUCATION
   University of Illinois College of
   Law, J.D., magna cum laude

   New York University, B.A., cum
   laude




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                                 A zealous advocate for consumers in complex class actions, Adam
                                 employs his skills as a young trial attorney to achieve favorable
                                 results for his clients.

                                 Beyond his frequent trial work in the Circuit Court of Cook County, Law Division,
                                 Adam Prom’s practice is focused on representing plaintiffs in complex litigation in
                                 federal courts throughout the country.

                                 He has been deeply involved in nationwide class actions regarding the use of
                                 sophisticated damages modeling in consumer product and vehicle defect lawsuits,
                                 where he played a key role in motion practice regarding plaintiffs’ expert
   Adam Prom                     witnesses, class certification, and summary judgment. See, e.g., Elward, et al. v.
   Associate                     Electrolux Home Products, Inc. (N.D. Ill.); Ryseweyk, et al. v. Sears Holdings Corp.,
                                 et al. (N.D. Ill.); and Catalano, et al. v. BMW of North America, et al. (S.D.N.Y.)
   EDUCATION                     (resulted in nationwide settlement). He also represented plaintiffs in an ERISA
   The University of Texas Law   class action concerning misclassification of insurance agents, which resulted in a
   School, J.D.                  jury verdict in favor of the plaintiffs that was confirmed by the Court. Jammal, et
                                 al. v. American Family Ins. Group, et al. (N.D. Ohio).
   Marquette University, B.A.
                                 Mr. Prom has demonstrated a commitment to serving underrepresented
                                 communities, volunteering as a mentor for high school students at the Legal Prep
                                 Charter Academy, a free, open-enrollment public high school in the West Garfield
                                 Park neighborhood of Chicago. He is a graduate of Marquette University in
                                 Milwaukee, Wisconsin, where he was a Burke Scholar, and The University of Texas
                                 School of Law where he earned National Order of the Barristers distinction.




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                                          Additional Members of the Firm

            Our attorneys have the ability to successfully try cases across the spectrum of complex commercial litigation,
  financial fraud and securities litigation, public litigation, class actions, defective drug and device cases, catastrophic
  injuries, and other areas of law. By bringing together top plaintiffs’ attorneys in our Chicago and Cleveland offices,
  we strive to obtain justice for our clients across the United States and around the world who have experienced
  significant injuries at the hands of powerful defendants.

         If selected, while Adam Levitt, Greg Gutzler, John Tangren, Amy Keller, Mark Abramowitz, Daniel Ferri, and
  Adam Prom will be principally assigned to provide services to the State, DLC boasts an impressive roster of attorneys.



                                      One of the nation’s leading plaintiffs’ attorneys, Mark regularly
                                      acts as lead and co-lead counsel in major personal injury and mass
                                      tort actions, with substantial recoveries for victims of injustice.

                                      Mark DiCello has established a national practice representing victims ranging from
                                      individuals suffering catastrophic personal injuries to classes of plaintiffs affected
                                      by harmful medical devices, pharmaceutical products, chemicals, and
                                      automobiles. In recent years, he has been appointed co-lead counsel in massive
                                      multidistrict litigation involving defective pelvic mesh devices and was appointed
                                      to a plaintiffs’ committee in a products liability litigation over metal hip implants,
                                      which ultimately led to over $12 billion in settlements. Always seeking to improve
   Mark A. DiCello                    his craft, he has completed the curriculum of the Trial Lawyers College.
   Partner
                                      Mr. DiCello holds leadership positions in the Association of Plaintiffs’ Interstate
                                      Trucking Lawyers of America, as well as The National Trial Lawyers.
   EDUCATION
   Cleveland-Marshall College of
   Law, J.D.                          PRACTICE AREAS
                                      •    Medical Malpractice
   University of Dayton, B.A.         •    Products Liability
                                      •    Personal Injury
                                      •    Mass Tort
                                      •    Class Action
                                      •    Wrongful Death
                                      ADMISSIONS
                                      •    United States Supreme Court
                                      •    United States Court of Appeals for the Sixth Circuit
                                      •    United States District Courts for the Northern and Southern Districts of
                                           Ohio
                                      •    Ohio, New York




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                                        James is a trial lawyer with a passion for representing victims of
                                        medical malpractice and other injured parties.

                                        A natural trial lawyer, Mr. Casey has spent the majority of his career representing
                                        victims of medical malpractice. Cumulatively, he has recovered more than $500
                                        million for his clients, participating in 25 verdicts of more than $1 million and three
                                        of more than $10 million.

                                        Mr. Casey has cumulatively recovered more than $55 million representing the
                                        families of infants injured at birth and earned a jury verdict of $10 million for a
                                        single plaintiff paralyzed during spine surgery. In addition to representing
   James S. Casey                       individual plaintiffs, Mr. Casey previously represented hospitals and institutions.
   Partner

   EDUCATION
   University of Akron School of Law,
   J.D.

   Bowling Green State University,
   B.S.



                                        Kenneth has led multiple million-dollar trials involving medical
                                        malpractice, products liability, and transportation claims.

                                        Mr. Abbarno’s practice includes a wide range of civil litigation including, but not
                                        limited to, catastrophic injury cases, transportation industry litigation, toxic torts,
                                        products liability, professional liability, employer intentional tort, and other
                                        complex litigation. He has tried well over 50 civil lawsuits, and has handled cases
                                        in Ohio, Pennsylvania, West Virginia, Virginia, Kentucky, Indiana and New York.

                                        Selected as an Ohio SuperLawyer every year since 2010, Mr. Abbarno is also an
                                        Inside Business Leading Lawyer, rated by The Best Lawyers in America, and named
   Kenneth P. Abbarno                   Transportation Lawyer of the Year in Cleveland. He has a Superb Avvo rating of 10
   Partner                              out of 10.

   EDUCATION
   Cleveland-Marshall College of
   Law, J.D.

   Canisius College, B.A.




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                                     A powerful storyteller and trial lawyer, Robert has earned multi-
                                     million-dollar recoveries for victims of police abuse,
                                     catastrophically injured people, and class plaintiffs.

                                     Mr. DiCello has extensive experience advocating for clients in mass tort and class
                                     action litigation, in addition to maintaining a growing practice focused on curbing
                                     police misconduct, government abuse, and catastrophic injury. He represents
                                     victims of police abuse around the country, earning jury verdicts of $22 million in
                                     2016, and $8.7 million in 2017, for various cases involving police misconduct. A
                                     powerful storyteller before juries, he also frequently represents clients before
                                     appellate courts.

   Robert F. DiCello                 Working in the largest prosecutor’s office in the country out of law school—the
   Partner                           Cuyahoga County Prosecutor’s Office—Mr. DiCello rose to manage as many as
                                     eight prosecutors in four different courts. During that time, he tried more than 40
                                     jury trials, involving major felonies from financial crimes to violent crimes to drug
   EDUCATION
                                     offenses.
   Cleveland-Marshall College of
   Law, J.D.
                                     He received a master’s degree in music from Northwestern University, and his law
   Northwestern University, M.A.
                                     degree from Cleveland-Marshall College of Law, where he served as Editor-in-
                                     Chief of The Cleveland State Law Review. In 2014, he attended and completed the
   University of Dayton, B.A.        curriculum of the Trial Lawyer’s College. He was named an Ohio SuperLawyer in
                                     2017 for his Civil Rights work.



   Chris Stombaugh                   Chris utilizes a multidisciplinary approach to trial advocacy
   Partner                           through the use of cognitive neuroscience.

   EDUCATION                         Mr. Stombaugh concentrates his practice in the areas of personal injury,
   Drake University School of Law,   wrongful death, medical negligence and product liability. He has been a
   J.D., with honors                 consistent thought leader on applying cognitive neuroscience techniques to trial
                                     advocacy as a trial lawyer and as a frequent instructor to other trial lawyers trial
   University of Wisconsin, B.A.     lawyers for most of his 25-year career.

                                     His expertise has led to several record setting jury verdicts, often seven and eight
                                     figures. The Wisconsin native's professional passion is to empower deserving
                                     people to have their stories heard and cared about by juries in courtrooms
                                     across America.

                                     A member of the Wisconsin Association for Justice since 1997, Mr. Stombaugh
                                     served as the organization's President for the 2014 term. He is also a member of
                                     the Iowa Association for Justice as well as the American Association for Justice.
                                     He has been chosen as a Wisconsin SuperLawyer every year since 2010 and has a
                                     10/10 Avvo Rating. Stombaugh speaks regularly to state bar and trial lawyer
                                     associations nationwide on modern and effective trial advocacy.




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                                       Laura has over a decade of experience as a labor and employment
                                       attorney in matters ranging from workplace discrimination
                                       matters to counseling on compliance and best practices.

                                       Previously representing companies in collective and class action lawsuits under
                                       the Fair Labor Standards Act and state wage and hour laws, Ms. Reasons’
                                       experience spans multiple industries, including healthcare and hospitality. Now,
                                       as a plaintiffs’ attorney, Ms. Reasons’ experience has given her a unique
                                       perspective that translates well into pursuing justice for individual claimants.

                                       Before joining private practice, Ms. Reasons served as a judicial extern to the
   Laura Reasons                       Honorable George W. Lindberg of the Northern District of Illinois. She also has a
   Senior Counsel                      history of performing pro bono work and community service. Throughout her
                                       career, she has served as a Public Interest Law Initiative (PILI) fellow at Domestic
   EDUCATION                           Violence Legal Clinic, having previously served on the organization’s young
   Chicago-Kent College of Law, J.D.   professionals board. She has also represented individuals in immigration cases pro
   Order of the Coif                   bono, including asylum seekers who were persecuted in their home countries for
                                       their sexual orientation and political party affiliation, DACA applicants, and
   Washington University in St.        incarcerated individuals.
   Louis, B.A.



                                       Justin fights for individuals who have suffered harm from
                                       negligence, defective products, and civil rights abuses.

                                       Mr. Hawal brings a passion for justice to his work on behalf of victims of corporate
                                       and government wrongdoing. His work has spanned personal injury, product
                                       liability, and civil rights litigation. He has particular experience in cases involving
                                       defendants in the pharmaceutical and automotive industries.

                                       During law school, Justin was selected to join The Cleveland State Law Review and
                                       published a scholarly article on independent tort actions for spoliation of evidence
   Justin J. Hawal                     under Ohio law. As an active member of the civil litigation clinic, he represented
                                       an asylum-seeking immigrant from Honduras, among other clients.
   Associate

   EMAIL:
                                       PRACTICE AREAS
   jhawal@dlcfirm.com                  •   Civil Rights
                                       •   Medical Malpractice
   EDUCATION                           •   Medical Device Litigation
   Cleveland-Marshall School of Law,   •   Personal Injury Litigation
   J.D., cum laude                     •   Product Liability

   St. Louis University, B.A.          ADMISSIONS
                                       •   United States Court of Appeals for the Sixth Circuit
                                       •   United States District Courts for the Northern and Southern Districts of
                                           Ohio, and the Western District of Pennsylvania
                                       •   Ohio




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   Tiffany R. Wunderlin                 Tiffany is a committed advocate, representing injured individuals
   Associate                            in cases across the country.

   EDUCATION                            Since coming to the private sector, Ms. Wunderlin has established a nationwide
   University of South Dakota School    practice representing victims of injustice. She has developed a wide array of
   of Law, J.D.                         experience representing victims of car collisions, trucking collisions, medical
                                        malpractice, dog-bites, excessive force, and premises liability both at the trial
   Saint Mary’s University of           court and appellate court level. In addition to representing victims in the
   Minnesota, B.A.                      courtroom, Ms. Wunderlin has worked extensively in the area of legal focus
                                        groups, having planned and coordinated more than 100 focus groups.

                                        Dual licensed in Wisconsin and Iowa, Tiffany began her legal career with Iowa
                                        Legal Aid where she represented clients who would have nowhere else to turn in
                                        cases involving their basic necessities, fundamental rights, and safety.

                                        Tiffany is a member of the Wisconsin Association for Justice. She is committed to
                                        using her passion and knowledge of the law to zealously represent her clients
                                        who have suffered injuries as a result of the carelessness of others.



                                        Robert has been one of the leading personal injury and class action
                                        attorneys in the state of Ohio for the last four decades.

                                        A co-founder of one of DiCello Levitt & Casey’s predecessor firms, Mr. DiCello has
                                        amassed more than 45 years of professional experience and an extensive list of
                                        seven- and eight-figure recoveries for victims of injustice. He has deep experience
                                        in a wide range of class actions, personal injury cases, complex mass torts, and
                                        probate matters. Over his long and successful career, he has won multiple appeals
                                        before the Ohio Supreme Court.

                                        Robert put himself through Cleveland-Marshall College of Law while working as a
   Robert J. DiCello                    safety director at U.S. Steel Corp. While in law school, he was selected to join
   Of Counsel                           The Cleveland-Marshall Law Review. He began his legal career as an assistant
                                        prosecutor in the Lake County Prosecutor’s Office and later become President of
   EDUCATION                            the Lake County Bar Association. He formed his own firm in 1978, managing it
   Cleveland-Marshall College of        with great success over nearly 40 years until its members founded DiCello Levitt &
   Law, J.D.                            Casey.

   John Carroll University, B.A., cum
   laude




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                                     An accomplished neurosurgeon in addition to being a lawyer, Dr.
                                     Leo Clark lends an invaluable perspective to cases involving brain
                                     and spinal injuries.

                                     Dr. Clark maintains active practices as both a medical doctor and lawyer, treating
                                     vulnerable individuals with brain and spinal cord injuries in both the hospital and
                                     courtroom settings. His experience as a highly-respected neurosurgeon adds a
                                     unique and invaluable dimension to his legal representation of those who have
                                     suffered catastrophic injuries and paralysis as result of medical malpractice, truck
                                     or car accidents, police misconduct, and other misfortune. He also advises and
                                     serves as an expert witness for attorneys across the country, who regularly seek
   Leo J. Clark, M.D.                his assistance in cases involving brain and spinal injuries.
   Of Counsel
                                     Leo performed his neurosurgical residency at Yale University, where he later
   EDUCATION                         conducted spinal cord research and held a teaching position at the Yale University
   University of Toledo College of   School of Medicine. He has also taught at the University of Connecticut and New
   Law, J.D.                         York University. He later chaired the departments of neurosurgery at St. Vincent
                                     Mercy Medical Center and St. Luke’s Hospital in Toledo, Ohio.
   George Washington University
   School of Medicine, M.D.




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